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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                     4:12CR3008
                                                )
               v.                               )
                                                )
LITA CHANHDARA, PETCHROONG                      )          MEMORANDUM AND ORDER
FOTHERGILL,                                     )
                                                )
                       Defendants.              )
                                                )


       Defendant Lita Chanhdara has filed a motion to suppress and a motion for disclosure of the
identity of a confidential informant. These motions will not be fully submitted until March 21, 2012.
Accordingly,

       IT IS ORDERED:

       1)      As to both defendants, the trial of this case is continued pending resolution of
               the pending pretrial motions.

       2)      As to both defendants, the time between the filing of defendant Chanhdara’s
               pending motions and the resolution of those motions shall be excluded for
               speedy trial calculation purposes. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       DATED this 7th day of March, 2012.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
